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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     In re Google Play Store Antitrust Litigation       Case No. 21-md-02981-JD

                                   8
                                                                                            ORDER RE MOTION TO STAY AND
                                   9                                                        RENEWED APPLICATION TO SEAL

                                  10

                                  11

                                  12          In a prior order, the Court denied the Google defendants’ request to seal portions of the
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 United States District Court




                                  13   four complaints, which would have limited the public’s right of access to the court proceedings in

                                  14   this high-profile multidistrict antitrust litigation. Dkt. No. 79. The reasons for the denial were

                                  15   straightforward. “[J]udicial records are public documents almost by definition, and the public is

                                  16   entitled to access by default.” Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1180

                                  17   (9th Cir. 2006) (citation omitted); see also Center for Auto Safety v. Chrysler Group, LLC, 809

                                  18   F.3d 1092, 1096 (9th Cir. 2016) (when considering a request to seal, “we start with a strong

                                  19   presumption in favor of access to court records.”) (quotation omitted). As the party seeking to seal

                                  20   the complaints, Google had “the burden of overcoming this strong presumption by meeting the

                                  21   ‘compelling reasons’ standard.” Kamakana, 447 F.3d at 1178 (quoting Foltz v. State Farm Mut.

                                  22   Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)); see also Center for Auto Safety, 809 F.3d at

                                  23   1098 (our precedent presumes that the “‘compelling reasons’ standard applies to most judicial

                                  24   records.”) (quoting Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 677-78 (9th Cir. 2009))

                                  25   (emphasis added in Center for Auto Safety).

                                  26          To seal portions of the complaints -- the documents that are the heart of this, and every,

                                  27   lawsuit -- Google was required to “articulate compelling reasons supported by specific factual

                                  28   findings that outweigh the general history of access and the public policies favoring disclosure.”
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                                   1   Kamakana, 447 F.3d at 1178-79 (cleaned up); see also Pintos, 605 F.3d at 678-79 (same);

                                   2   Johnstech Int’l Corp. v. JF Microtechnology SDN BHD, No. 14-cv-02864-JD, 2016 WL 4091388,

                                   3   at *1 (N.D. Cal. Aug. 2, 2016) (party must provide “specific, individualized reasons for the

                                   4   sealing”). Conclusory statements by a party about potential harm from public disclosure, or mere

                                   5   hypothesis or conjecture, will not do. Kamakana, 447 F.3d at 1179; Hagestad v. Tragesser, 49

                                   6   F.3d 1430, 1434 (9th Cir. 1995). The fact that the parties may have designated a document as

                                   7   confidential under a stipulated protective order is also not enough to justify sealing. “Such blanket

                                   8   orders” are inherently overbroad and do not provide the “particularized showing” required to seal

                                   9   any individual court record. See San Jose Mercury News, Inc. v. United States District Court, 187

                                  10   F.3d 1096, 1103 (9th Cir. 1999). In addition, different interests are at stake with the right of

                                  11   access to court records than with the production of documents during discovery. See Kamakana,

                                  12   447 F.3d at 1180.
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                                  13          Google had an ample opportunity to demonstrate a compelling reason for sealing, and

                                  14   squandered it. The governing standards summarized here have been well-established for many

                                  15   years, and our District’s local rules clearly state the procedures for Google to follow in making its

                                  16   case. See Civil L.R. 79-5. Even so, Google presented nothing but generic and boilerplate

                                  17   statements for its sealing requests. It gestured at its internal confidentiality practices as a ground

                                  18   for sealing, which was nothing more than an ipse dixit rationale. See Dkt. No. 79 at 2. It

                                  19   mentioned the protective orders entered in the litigation as a basis, but that carried little weight.

                                  20   See id and supra. The “factual showing” it proffered was a declaration by a “Senior Legal Project

                                  21   Manager” at Google stating that the disclosure of “non-public information” could, “[i]f revealed to

                                  22   competitors and potential business counterparties, . . . disadvantage Google in marketing and in

                                  23   negotiations.” Dkt. No. 74-1. This was literally all Google said with respect to meeting the

                                  24   requirement of a specific factual demonstration of a compelling reason, and it repeated the same

                                  25   statement over 140 times in the declaration, without any further commentary or evidence. Id.

                                  26   Overall, Google made no showing whatsoever that might have favored keeping portions of the

                                  27   complaints secret, and its “failure to meet that burden means that the default posture of public

                                  28   access prevails.” Kamakana, 447 F.3d at 1182.
                                                                                          2
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                                   1           Consequently, Google’s sealing requests were denied. Dkt. No. 79. Pursuant to Civil

                                   2   Local Rule 79-5(f), the Court directed the plaintiff groups to file unredacted versions of their

                                   3   respective complaints on ECF within 7 days of the order, namely by August 25, 2021. Id. at 3.

                                   4   Epic beat that deadline and filed its unredacted complaint on August 19, 2021. Dkt. Nos. 81, 82.

                                   5   The other three plaintiff groups apparently agreed to hold off on filing their unredacted complaints

                                   6   at Google’s request. Dkt. No. 84-1 ¶¶ 8-11. On August 20, 2021, Google filed an “Emergency

                                   7   Motion to Stay the Court’s August 18, 2021 Order,” Dkt. No. 83, as well as a “Renewed

                                   8   Application to Seal,” Dkt. No. 85.

                                   9           Google’s request for a do-over is misdirected in several respects. To start, Google cannot

                                  10   credibly claim surprise or lack of a fair chance to address the sealing standards. The salient case

                                  11   law and local rules have been on the books for a good while, and Google is represented here by

                                  12   two top-tier law firms with ample resources to get a proper sealing request on file. In addition, the
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                                  13   Court expressly cautioned at a status conference that any requests to keep complaint allegations

                                  14   sealed from the public would be closely scrutinized. See Dkt. No. 67 (“Google is advised that for

                                  15   any portions of the complaints for which Google requests sealing, it will need to make a

                                  16   persuasive showing that sealing is appropriate under the governing standards. Complaints are

                                  17   foundational case documents to which the public has a strong right of access, especially in a case

                                  18   such as this one.”). In these circumstances, Google’s plea for a break because this was the “first

                                  19   sealing exercise” in the litigation, Dkt. No. 85 at 2, is unpersuasive.

                                  20           So too for Google’s effort to pass the buck for its shortfall to the Court. Google hedged its

                                  21   original requests with the statement that “if the Court believes that Google should support its

                                  22   request with either a supplemental declaration or additional detail in support of its sealing request,

                                  23   Google can provide such additional support and requests leave to do so.” Dkt. No. 161 at 2; Dkt.

                                  24   No. 83-1 ¶ 3; Dkt. No. 84-1 ¶ 3. This fundamentally misunderstands federal motion practice. The

                                  25   Court does not review a party’s motion papers and offer coaching pointers for a second round of

                                  26   briefs. The burden is on the party to make its case in the first instance, as it sees fit. That is all the

                                  27   more true in the sealing context, where the “judge need not document compelling reasons to

                                  28
                                                                                           3
                                          Case 3:21-md-02981-JD Document 89 Filed 08/25/21 Page 4 of 18




                                   1   unseal; rather the proponent of sealing bears the burden with respect to sealing.” Kamakana, 447

                                   2   F.3d at 1182.

                                   3          Google is also less than forthright in characterizing the present motion as a “renewed”

                                   4   application. There is no basis for that in the federal procedural rules. In effect, Google seeks

                                   5   reconsideration of the prior order without owning up to the standards that govern reconsideration,

                                   6   starting with the requirement that a party must request leave to file such a motion. See Civil L.R.

                                   7   7-9(a) (“No party may notice a motion for reconsideration without first obtaining leave of Court to

                                   8   file the motion.”). Nor did Google make any effort to demonstrate the existence of new facts or

                                   9   law, or the other circumstances that might warrant reconsideration. See id. 7-9(b).

                                  10          Altogether, Google has not established any reason to disturb the Court’s prior order. Even

                                  11   so, purely in the interest of keeping this litigation on track, the Court has reviewed the “renewed

                                  12   application,” Dkt. No. 85, which is directed to the complaints other than Epic’s, which was more
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                                  13   circumspect about Google’s information. The Court also reviewed the declaration of a Finance

                                  14   Director for Google, LLC, Dkt. No. 85-1. These filings are more detailed in describing the

                                  15   material Google is seeking to seal, and the reasons why Google believes each item should be

                                  16   sealed. Id. None of this is new information, and should have been presented in the original

                                  17   request.

                                  18          Most of the “renewed” sealing requests are still inappropriate. Google has met its burden

                                  19   only for a small subset of the sealing requests. The Court’s rulings are stated in the attached chart.

                                  20   See Ex. A. The Court granted sealing for specific deal terms that might be used against Google in

                                  21   other negotiations and deals. The Court declined to seal information outside this specific category

                                  22   of sensitive information because Google did not demonstrate a plausible risk to its business from

                                  23   publication. For example, Google did not present facts establishing that disclosure of profits and

                                  24   revenues from portions of its business would cause it commercial harm. Google may be

                                  25   uncomfortable that the public will see this data, but “a litigant’s embarrassment, incrimination, or

                                  26   exposure to further litigation will not, without more, compel the court to seal its records.”

                                  27   Kamakana, 447 F.3d at 1179 (citation omitted).

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                                   1          The Consumer Plaintiffs, Developer Plaintiffs, and Plaintiff States are directed to file

                                   2   revised redacted versions of their complaints which comport with this order within 7 days from the

                                   3   date of this order. Civil L.R. 79-5(f)(3).

                                   4          This resolves Google’s renewed application to seal. Dkt. No. 85. Google’s motion for a

                                   5   stay, Dkt. No. 83, and the stipulated request for an order shortening time for that motion, Dkt.

                                   6   No. 84, are terminated.

                                   7          IT IS SO ORDERED.

                                   8   Dated: August 25, 2021

                                   9

                                  10
                                                                                                    JAMES DONATO
                                  11                                                                United States District Judge
                                  12
Northern District of California
 United States District Court




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 1                  Exhibit A to Order re Motion to Stay and Renewed Application to Seal
 2
      Document         Information sought        Google’s Proffered                    Ruling
 3                         to be sealed          Reason for Sealing
 4
                         STATE ATTORNEY GENERALS’ COMPLAINT
 5
     Utah v.          Paragraph 183, page       Contains non-public        Denied.
 6   Google LLC,      59, line 18 (between      financial revenue and
     Case No.         “made up” and “of         revenue ratio
 7   3:21-cv-         overall” on line 19),     information about
 8   05227-JD,        and line 19 (beginning    individual Google
     ECF 1 (Ex. A     after “totaled some”)     business lines which,
 9   to Cramer        to the end of the         if revealed to
     Decl.)           paragraph.                competitors or
10                                              counterparties, could
                                                cause competitive
11                                              harm to Google, and
12                                              which could also cause
                                                confusion for
13                                              investors. (see Cramer
                                                Decl., ¶ 8).
14
     Utah v.          Paragraph 186, page       Contains non-public    Denied.
15   Google LLC,      60, line 14 (between      information regarding
     Case No.         “collected” and “in       revenue and profit
16   3:21-cv-         overall”), line 14        margins for individual
17   05227-JD,        (between “booked”         Google business lines
     ECF 1 (Ex. A     and “in ‘Gross            which, if revealed to
18   to Cramer        Profit’”), line 15        competitors or
     Decl.)           (between “and” and        counterparties, could
19                    “in ‘Operating            cause competitive
                      Income’”), and line 15    harm to Google, and
20                    (between “over” and       which could also cause
21                    “that combines”).         confusion for
                                                investors. (see Cramer
22                                              Decl., ¶ 9).
23   Utah v.          Paragraph 111, page       Contains non-public        Granted in part. The
     Google LLC,      39, line 1 (beginning     information regarding      proposed language at lines
24   Case No.         after “stated that”) to   confidential business      4-5 may be sealed. The
25   3:21-cv-         the end of the sentence   strategies with respect    public release of these
     05227-JD,        on line 2 (ending         to potential contractual   specific proposed terms of
26   ECF 1 (Ex. A     before “One key”),        counterparties and, in     a contract could place
     to Cramer        line 3 (beginning after   particular, specific       Google in a diminished
27   Decl.)           “was”) to the end of      proposed terms of a        bargaining position in
                      the sentence on line 3    contract with a            future negotiations with
28
                                                                   Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
                                                     1                        3:20-cv-05792-JD; 3:21-cv-05227-JD
      Case 3:21-md-02981-JD Document 89 Filed 08/25/21 Page 7 of 18



 1
      Document       Information sought        Google’s Proffered                   Ruling
 2                       to be sealed          Reason for Sealing

 3                  (ending before “In        business counterparty     potential customers and
                    response”), and line 4    which, if revealed to     competitors, thereby
 4                  (beginning after          competitors or            causing significant harm to
                    “among other things,      counterparties, could     Google’s competitive
 5                  to” to the end of the     cause competitive         standing.
 6                  sentence on line 5,       harm to Google. (see
                    excluding “(emphasis      Cramer Decl., ¶ 10).
 7                  in original).”

 8   Utah v.        Paragraph 129, page       Contains non-public       Denied.
     Google LLC,    43, line 20 (after        information regarding
 9   Case No.       “approximately”) to       spend data for
10   3:21-cv-       the end of the sentence   individual Google
     05227-JD,      on line 21.               business lines and
11   ECF 1 (Ex. A                             initiatives which, if
     to Cramer                                revealed to
12   Decl.)                                   competitors or
                                              counterparties, could
13                                            cause competitive
14                                            harm to Google. (see
                                              Cramer Decl., ¶ 11).
15
     Utah v.        Paragraph 132, page       Contains non-public       Denied.
16   Google LLC,    44, line 22 (between      information revealing
     Case No.       “primarily” and “as a     the counterparties to
17   3:21-cv-       solution”).               confidential
     05227-JD,                                contractual
18   ECF 1 (Ex. A                             arrangements with
19   to Cramer                                Google which, if
     Decl.)                                   revealed to
20                                            competitors or
                                              counterparties, could
21                                            cause competitive
                                              harm to both Google
22                                            and the third parties.
23                                            (see Cramer Decl., ¶
                                              12).
24
     Utah v.        Paragraph 136, page       Contains non-public       Granted in part. The
25   Google LLC,    46, line 16 (beginning    information regarding     proposed language at line
     Case No.       after “would”) to line    a confidential business   24 may be sealed because it
26   3:21-cv-       17 (ending before         strategy and terms        reveals a specific term
27   05227-JD,      “At”), line 24            offered during            proposed to a contractual

28
                                                                Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
                                                   2                       3:20-cv-05792-JD; 3:21-cv-05227-JD
      Case 3:21-md-02981-JD Document 89 Filed 08/25/21 Page 8 of 18



 1
      Document       Information sought        Google’s Proffered                   Ruling
 2                       to be sealed          Reason for Sealing

 3   ECF 1 (Ex. A   (beginning after “using   negotiations with a       counterparty, which could
     to Cramer      a”) to line 25 (ending    potential contractual     cause significant harm to
 4   Decl.)         before “(Google           counterparty which, if    Google’s competitive
                    offered”), and line 25    revealed to               standing.
 5                  (beginning after          competitors or
 6                  “Samsung would”) to       counterparties, could
                    the end of the            cause competitive
 7                  paragraph on line 26.     harm to Google. (see
                                              Cramer Decl., ¶ 13)
 8
     Utah v.        Paragraph 136, page       Contains non-public       Granted. The proposed
 9   Google LLC,    46, line 12 (between      information regarding     language may be sealed
10   Case No.       “up to” and “in           a confidential business   because it reveals a specific
     3:21-cv-       return”).                 strategy and terms        term proposed to a
11   05227-JD,                                offered during            contractual counterparty,
     ECF 1 (Ex. A                             negotiations with a       which could cause
12   to Cramer                                potential contractual     significant harm to
     Decl.)                                   counterparty which, if    Google’s competitive
13                                            revealed to               standing.
14                                            competitors or
                                              counterparties, could
15                                            cause competitive
                                              harm to Google. (see
16                                            Cramer Decl., ¶ 14).
17   Utah v.        Paragraph 137, page       Contains non-public       Granted. The proposed
     Google LLC,    47, line 15 (between      information regarding     language may be sealed
18   Case No.       “proposed the” and        terms offered during      because it reveals a specific
19   3:21-cv-       “were too low”).          negotiations with a       term proposed to a
     05227-JD,                                potential contractual     contractual counterparty,
20   ECF 1 (Ex. A                             counterparty which, if    which could cause
     to Cramer                                revealed to               significant harm to
21   Decl.)                                   competitors or            Google’s competitive
                                              counterparties, could     standing.
22                                            cause competitive
23                                            harm to both Google
                                              and the third party.
24                                            (see Cramer Decl., ¶
                                              15).
25
26
27
28
                                                                Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
                                                   3                       3:20-cv-05792-JD; 3:21-cv-05227-JD
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 1
      Document       Information sought        Google’s Proffered                   Ruling
 2                       to be sealed          Reason for Sealing

 3   Utah v.        Paragraph 139, page       Contains non-public       Granted. The proposed
     Google LLC,    48, line 7 (beginning     information regarding     language may be sealed
 4   Case No.       after “According to       terms offered during      because it reveals specific
     3:21-cv-       Google, the”) to line 9   negotiations with a       terms proposed to a
 5   05227-JD,      at the end of the         potential contractual     contractual counterparty,
 6   ECF 1 (Ex. A   sentence.                 counterparty which, if    which could cause
     to Cramer                                revealed to               significant harm to
 7   Decl.)                                   competitors or            Google’s competitive
                                              counterparties, could     standing.
 8                                            cause competitive
                                              harm to both Google
 9
                                              and the third party.
10                                            (see Cramer Decl., ¶
                                              16).
11
     Utah v.        Paragraph 140, page       Contains non-public       Granted in part. The
12   Google LLC,    48, line 10 (beginning    information regarding     proposed language at lines
     Case No.       at the start of the       a confidential business   11-12 may be sealed
13   3:21-cv-       paragraph and ending      strategy and terms        because it reveals specific
14   05227-JD,      before “was the           offered during            terms proposed to a
     ECF 1 (Ex. A   offer”), line 11          negotiations with a       contractual counterparty,
15   to Cramer      (starting after           potential contractual     which could cause
     Decl.)         “revenues for”) to line   counterparty which, if    significant harm to
16                  12 at the end of the      revealed to               Google’s competitive
                    sentence (ending          competitors or            standing.
17                  before “That              counterparties, could
18                  proposal”).               cause competitive
                                              harm to Google. (see
19                                            Cramer Decl., ¶ 17).

20   Utah v.        Paragraph 141, page       Contains non-public       Granted in part. The
     Google LLC,    48, line 15 (beginning    information regarding     proposed language at line
21   Case No.       at the start of the       a confidential business   15 (beginning after “to
     3:21-cv-       paragraph and ending      strategy and terms        provide a” and ending at
22   05227-JD,      at “also included”),      offered during            “to Samsung”), and at lines
23   ECF 1 (Ex. A   line 15 (beginning        negotiations with a       16 through 19, may be
     to Cramer      after “to provide a”      potential contractual     sealed because it reveals
24   Decl.)         and ending at “to         counterparty which, if    specific terms proposed to
                    Samsung”), line 16        revealed to               a contractual counterparty,
25                  (beginning after “use     competitors or            which could cause
                    to”) to line 17 (ending   counterparties, could     significant harm to
26
                    at “would include”),      cause competitive         Google’s competitive
27                  line 17 (beginning                                  standing.

28
                                                                Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
                                                   4                       3:20-cv-05792-JD; 3:21-cv-05227-JD
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 1
      Document       Information sought       Google’s Proffered                    Ruling
 2                       to be sealed         Reason for Sealing

 3                  after “the following”)   harm to Google. (see
                    to the end of the        Cramer Decl., ¶ 18).
 4                  sentence on line 19
                    (ending before “Any
 5                  app”).
 6
     Utah v.        Paragraph 148, page      Contains non-public        Denied.
 7   Google LLC,    51, figure 5 (names of   information revealing
     Case No.       contractual              the counterparties to
 8   3:21-cv-       counterparties).         confidential
     05227-JD,                               contractual
 9   ECF 1 (Ex. A                            arrangements with
10   to Cramer                               Google which, if
     Decl.)                                  revealed to
11                                           competitors or
                                             counterparties, could
12                                           cause competitive
                                             harm to both Google
13                                           and the third parties.
14                                           (see Cramer Decl., ¶
                                             19).
15
     Utah v.        Paragraph 149, page      Contains non-public        Denied.
16   Google LLC,    51, line 20 (between     information regarding
     Case No.       “developer” and “from    an agreement between
17   3:21-cv-       following”).             Google and a third
     05227-JD,                               party which, if
18   ECF 1 (Ex. A                            revealed to
19   to Cramer                               competitors or
     Decl.)                                  counterparties, could
20                                           cause competitive
                                             harm to both Google
21                                           and the third party.
                                             (see Cramer Decl., ¶
22                                           20).
23
     Utah v.        Paragraph 192, page      Contains non-public        Denied.
24   Google LLC,    61, line 14 (between     information regarding
     Case No.       “suggested that a” and   confidential business
25   3:21-cv-       “commission”).           strategies with respect
     05227-JD,                               to pricing decisions
26   ECF 1 (Ex. A                            which, if revealed to
27                                           competitors or

28
                                                                Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
                                                  5                        3:20-cv-05792-JD; 3:21-cv-05227-JD
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 1
      Document       Information sought       Google’s Proffered                   Ruling
 2                       to be sealed         Reason for Sealing

 3   to Cramer                               counterparties, could
     Decl.)                                  cause competitive
 4                                           harm to Google. (see
                                             Cramer Decl., ¶ 21).
 5
 6                  DEVELOPERS’ FIRST AMENDED CONSOLIDATED
                           CLASS ACTION COMPLAINT
 7
     In re Google   Paragraph 86, page 29,   Contains non-public       Denied.
 8
     Play           line 4 (between          information regarding
 9   Developer      “Samsung made” and       Play revenue data as
     Antitrust      “in revenue”), line 5    well as Google’s
10   Litigation,    (between “Google had     estimate of a
     Case No.       made” and “in sales”),   competitor’s revenue
11   3:20-cv-       and line 6 (between      which, if revealed to
12   05792-JD,      “Store had a” and        competitors or
     ECF 129 (Ex.   “share of”)              counterparties, could
13   B to Cramer                             cause competitive
     Decl.)                                  harm to both Google
14                                           and the third party,
                                             and which could also
15                                           cause confusion for
16                                           investors. (see Cramer
                                             Decl., ¶ 23).
17
     In re Google   Paragraph 170, page      Contains non-public       Denied.
18   Play           60, line 15 (from        information regarding
     Developer      beginning of line to     Play costs which, if
19   Antitrust      before “and today”)      revealed to
     Litigation,    and line 16 (between     competitors or
20   Case No.       “at just” and “On        counterparties, could
21   3:20-cv-       another occasion”).      cause competitive
     05792-JD,                               harm to Google, and
22   ECF 129 (Ex.                            which could also cause
     B to Cramer                             confusion for
23   Decl.)                                  investors. (see Cramer
                                             Decl., ¶ 24).
24
25
26
27
28
                                                               Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
                                                  6                       3:20-cv-05792-JD; 3:21-cv-05227-JD
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 1
      Document       Information sought        Google’s Proffered                  Ruling
 2                       to be sealed          Reason for Sealing

 3   In re Google   Paragraph 176, page       Contains non-public      Denied.
     Play           61, line 23 (between      information regarding
 4   Developer      “scale at” and “people    revenues and
     Antitrust      in”), line 24 (between    headcount for
 5   Litigation,    “larger at” and           individual Google
 6   Case No.       “Revenue per head”),      business lines which,
     3:20-cv-       and line 25 (between      if revealed to
 7   05792-JD,      “gone from” and “--       competitors or
     ECF 129 (Ex.   but the way”).            counterparties, could
 8   B to Cramer                              cause competitive
     Decl.)                                   harm to Google, and
 9
                                              which could also cause
10                                            confusion for
                                              investors. (see Cramer
11                                            Decl., ¶ 25).
12   In re Google   Paragraph 180, page       Contains non-public      Denied.
     Play           62, footnote 122, line    information regarding
13   Developer      26 beginning after        costs which, if
14   Antitrust      “figures are” and         revealed to
     Litigation,    ending before “as         competitors or
15   Case No.       noted,” and line 26.5     counterparties, could
     3:20-cv-       after “processing costs   cause competitive
16   05792-JD,      at” to the end of the     harm to Google, and
     ECF 129 (Ex.   sentence.                 which could also cause
17   B to Cramer                              confusion for
18   Decl.)                                   investors. (see Cramer
                                              Decl., ¶ 26).
19
     In re Google   Paragraph 197, page       Contains non-public      Denied.
20   Play           67, line 24 (beginning    information regarding
     Developer      after “noted above”) to   costs which, if
21   Antitrust      the end of the sentence   revealed to
     Litigation,    on line 26 (ending        competitors or
22
     Case No.       before “These             counterparties, could
23   3:20-cv-       companies”).              cause competitive
     05792-JD,                                harm to Google, and
24   ECF 129 (Ex.                             which could also cause
     B to Cramer                              confusion for
25   Decl.)                                   investors. (see Cramer
                                              Decl., ¶ 27).
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                                                               Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
                                                   7                      3:20-cv-05792-JD; 3:21-cv-05227-JD
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 3   In re Google   Page 26, footnote 63,      Contains non-public       Granted. The proposed
     Play           line 23 (between           information regarding     language may be sealed
 4   Developer      “between” and “and”),      a confidential            because it reveals specific
     Antitrust      line 23.5 (after           agreement with a          terms with a contractual
 5   Litigation,    “Google”) to line 24       counterparty which, if    counterparty, which could
 6   Case No.       (before “Google”),         revealed to               cause significant harm to
     3:20-cv-       line 24 (after “will       competitors or            Google’s competitive
 7   05792-JD,      pay”) to line 24.5         counterparties, could     standing.
     ECF 129 (Ex.   (before “to”), line 25.5   cause competitive
 8   B to Cramer    (between “from the”        harm to both Google
     Decl.)         and “that”).               and the third party.
 9
                                               (see Cramer Decl., ¶
10                                             28).

11   In re Google   Paragraph 77, page 26,     Contains non-public       Denied.
     Play           line 11 (beginning         information regarding
12   Developer      after “approximately”      confidential business
13   Antitrust      and ending before          strategies and the
     Litigation,    “The numbers”).            terms of confidential
14   Case No.                                  agreements with
     3:20-cv-                                  counterparties which,
15   05792-JD,                                 if revealed to
     ECF 129 (Ex.                              competitors or
16   B to Cramer                               counterparties, could
17   Decl.)                                    cause competitive
                                               harm to both Google
18                                             and the third parties.
                                               (see Cramer Decl., ¶
19                                             29).
20   In re Google   Paragraph 93, page 31,     Contains non-public       Denied.
     Play           line 16 (between           information regarding
21   Developer      “Samsung” and              a confidential
22   Antitrust      “including”).              agreement with a
     Litigation,                               counterparty which, if
23   Case No.                                  revealed to
     3:20-cv-                                  competitors or
24   05792-JD,                                 counterparties, could
     ECF 129 (Ex.                              cause competitive
25
     B to Cramer                               harm to both Google
26   Decl.)                                    and the third party.
                                               (see Cramer Decl., ¶
27                                             30).
28
                                                                 Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
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 2                       to be sealed         Reason for Sealing

 3   In re Google   Paragraph 174, page      Contains non-public       Denied.
     Play           61, line 14 (between     information regarding
 4   Developer      “set at” and “But for”). pricing which, if
     Antitrust                               revealed to
 5   Litigation,                             competitors or
 6   Case No.                                counterparties, could
     3:20-cv-                                cause competitive
 7   05792-JD,                               harm to Google. (see
     ECF 129 (Ex.                            Cramer Decl., ¶ 31).
 8   B to Cramer
     Decl.)
 9
10                   CONSUMERS’ FIRST AMENDED CONSOLIDATED
                            CLASS ACTION COMPLAINT
11
     In re Google   Paragraph 82, page 19,   Contains non-public       Denied.
12   Play           line 4 (between          information regarding
     Consumer       “revenues of” and        revenue for an
13   Antitrust      “accounting”) and line   individual Google
14   Litigation,    4 (between “for over”    business line which, if
     Case No.       and “percent”).          revealed to
15   3:20-cv-                                competitors or
     05761-JD,                               counterparties, could
16   ECF 132 (Ex.                            cause competitive
     C to Cramer                             harm to Google, and
17   Decl.)                                  which could also cause
18                                           confusion for
                                             investors. (see Cramer
19                                           Decl., ¶ 33).

20   In re Google   Paragraph 88, page 20,   Contains non-public       Denied.
     Play           line 25 (between         information regarding
21   Consumer       “made around” and “in    Play revenue data as
     Antitrust      revenue”) and line 26    well as Google’s
22   Litigation,    (between “made           estimate of a
23   Case No.       around” and “in          competitor’s revenue
     3:20-cv-       sales”).                 which, if revealed to
24   05761-JD,                               competitors or
     ECF 132 (Ex.                            counterparties, could
25   C to Cramer                             cause competitive
     Decl.)                                  harm to Google, and
26
                                             which could also cause
27                                           confusion for

28
                                                               Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
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 3                                         investors. (see Cramer
                                           Decl., ¶ 34).
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11   In re Google   Paragraph 138, page    Contains non-public       Denied.
     Play           31, line 19 (between   information regarding
12   Consumer       “more than” and “per   costs for individual
13   Antitrust      year”).                Google business lines
     Litigation,                           which, if revealed to
14   Case No.                              competitors or
     3:20-cv-                              counterparties, could
15   05761-JD,                             cause competitive
     ECF 132 (Ex.                          harm to Google, and
16   C to Cramer                           which could also cause
17   Decl.)                                confusion for
                                           investors. (see Cramer
18                                         Decl., ¶ 35).

19   In re Google   Paragraph 193, page    Contains non-public       Denied.
     Play           44, line 7 (between    information regarding
20   Consumer       “than the” and         costs and profit
     Antitrust      “revenue share”).      margins for an
21   Litigation,                           individual Google
22   Case No.                              business line which, if
     3:20-cv-                              revealed to
23   05761-JD,                             competitors or
     ECF 132 (Ex.                          counterparties, could
24   C to Cramer                           cause competitive
     Decl.)                                harm to Google, and
25
                                           which could also cause
26                                         confusion for
                                           investors. (see Cramer
27                                         Decl., ¶ 36).
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                                                             Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
                                               10                       3:20-cv-05792-JD; 3:21-cv-05227-JD
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 1
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 2                       to be sealed           Reason for Sealing

 3   In re Google   Paragraph 87, page 20,     Contains non-public        Granted. The proposed
     Play           line 20 (between           information regarding      language may be sealed
 4   Consumer       “among other things”       confidential business      because it reveals specific
     Antitrust      and “as well”), and        strategies with respect    terms proposed to a
 5   Litigation,    line 20 (beginning         to potential contractual   contractual counterparty,
 6   Case No.       after “as well as”) to     counterparties and, in     which could cause
     3:20-cv-       the end of the             particular, specific       significant harm to
 7   05761-JD,      paragraph on line 22.      proposed terms of a        Google’s competitive
     ECF 132 (Ex.                              contract with a            standing.
 8   C to Cramer                               business counterparty
     Decl.)                                    which, if revealed to
 9
                                               competitors or
10                                             counterparties, could
                                               cause competitive
11                                             harm to both Google
                                               and third parties. (see
12                                             Cramer Decl., ¶ 37).
13
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15
     In re Google   Paragraph 109, page        Contains non-public        Denied.
16   Play           25, line 13 (beginning     information regarding
     Consumer       after “services”) to the   the terms of
17   Antitrust      end of line 16.            confidential
     Litigation,                               agreements with
18   Case No.                                  counterparties which,
19   3:20-cv-                                  if revealed to
     05761-JD,                                 competitors or
20   ECF 132 (Ex.                              counterparties, could
     C to Cramer                               cause competitive
21   Decl.)                                    harm to both Google
                                               and the third parties.
22                                             (see Cramer Decl., ¶
23                                             38).

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                                                                  Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
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 1
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 2                       to be sealed         Reason for Sealing

 3   In re Google   Paragraph 129, page      Contains non-public       Granted in part. The
     Play           29, line 23 (between     information regarding     identity of the contract
 4   Consumer       “Agreement with” and     the terms of a            counterparty may be
     Antitrust      the end of the           confidential agreement    sealed, because the
 5   Litigation,    paragraph).              with a counterparty       disclosure could cause
 6   Case No.                                which, if revealed to     significant harm to
     3:20-cv-                                competitors or            Google’s competitive
 7   05761-JD,                               counterparties, could     standing.
     ECF 132 (Ex.                            cause competitive
 8   C to Cramer                             harm to both Google
     Decl.)                                  and the third party.
 9
                                             (see Cramer Decl., ¶
10                                           39).

11   In re Google   Paragraph 134, page      Contains confidential     Denied.
     Play           30, line 22 (between     negotiations with
12   Consumer       “up to” and “of          counterparties which,
     Antitrust      “Play”) and line 22      if revealed to
13   Litigation,    (between “up to” and     competitors or
14   Case No.       “by 2023”).              counterparties, could
     3:20-cv-                                cause competitive
15   05761-JD,                               harm to both Google
     ECF 132 (Ex.                            and the third parties.
16   C to Cramer                             (see Cramer Decl., ¶
     Decl.)                                  40).
17
     In re Google   Paragraph 187, page      Contains non-public       Denied.
18   Play           42, line 24 (beginning   information regarding
19   Consumer       at “In particular”) to   terms offered during
     Antitrust      the end of the           negotiations with a
20   Litigation,    sentence.                potential contractual
     Case No.                                counterparty which, if
21   3:20-cv-                                revealed to
     05761-JD,                               competitors or
22   ECF 132 (Ex.                            counterparties, could
23   C to Cramer                             cause competitive
     Decl.)                                  harm to both Google
24                                           and the third party.
                                             (see Cramer Decl., ¶
25                                           41).
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                                                               Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD;
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 1
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 2                       to be sealed         Reason for Sealing

 3   In re Google   Paragraph 85, page 20,   Contains non-public       Denied.
     Play           line 5 (between          financial projections
 4   Consumer       “represented a           which, if revealed to
     Antitrust      potential” and “annual   competitors or
 5   Litigation,    revenue”) and line 6     counterparties, could
 6   Case No.       (between “[l]oss [of]”   cause competitive
     3:20-cv-       and “of revenue”).       harm to Google. (see
 7   05761-JD,                               Cramer Decl., ¶ 42).
     ECF 132 (Ex.
 8   C to Cramer
     Decl.)
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